    Case 19-19915-CMG            Doc 29-1 Filed 06/15/22 Entered 06/15/22 16:38:58                      Desc Ntc
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                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 19−19915−CMG
                                         Chapter: 13
                                         Judge: Christine M. Gravelle

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Ernest J. Hyer
   624 Eighth Avenue
   Toms River, NJ 08757
Social Security No.:
   xxx−xx−9651
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 6/15/22.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: June 15, 2022
JAN: rms

                                                                   Jeanne Naughton
                                                                   Clerk
